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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


                                             )
STATE OF TEXAS,                              )
STATE OF MISSOURI,                           )
                                             )
       Plaintiffs,                           )
                                             )
       v.                                    )       Civil Action No. 2:21-cv-00067-Z
                                             )
 JOSEPH R. BIDEN, JR.,                       )
 in his official capacity as                 )
 President of the United States, et al.,     )
                                             )
       Defendants.                           )
                                             )


                      UNOPPOSED MOTION FOR 45-DAY EXTENSION
                     OF DEADLINE TO RESPOND TO THE COMPLAINT

       Defendants respectfully move for a 45-day extension of the deadline to answer or otherwise

respond to the Second Amended Complaint. Plaintiffs consent to this extension.

       The Court previously entered an order that stayed Defendants’ deadline to answer or

otherwise respond to the Second Amended Complaint until after the Court resolved Plaintiffs’

Motion to Postpone. ECF No. 155. After one extension, that deadline is currently January 30, 2023.

ECF No. 180.

       The government is currently evaluating whether to appeal the Court’s decision on the

Motion to Postpone. The decision whether to appeal must ultimately be made by the Solicitor

General. See 28 C.F.R. § 0.20(b). Because the Solicitor General has not yet made a decision

regarding whether to appeal and requires more time to reach a decision, and because a decision to

appeal may affect the course of the litigation in this Court, the government respectfully requests



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an extension to allow that process to conclude before responding to the Second Amended

Complaint.

       Accordingly, Defendants request that the Court grant this unopposed motion to extend the

deadline to answer or otherwise respond to the complaint to March 16, 2023.



       Dated: January 27, 2023             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 27, 2023, I electronically filed this motion with the Clerk

of the Court for the United States District Court for the Northern District of Texas by using the

CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                                             /s/ Brian C. Ward
                                             BRIAN C. WARD
                                             U.S. Department of Justice




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